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UNITED STATES BANKRUPTCY COURT
DISTRICT OF MONTANA
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      2017-00021
      WOMACK et al v. SCHNEIDER et al



      Case Type :                    ap
      Case Number :                  2017-00021
      Case Title :                   WOMACK et al v. SCHNEIDER et al

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